                            UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE:     JESUS JOSE PALMERONI
           AKA: JOSEPH PALMERONI DBA: JJP
           CONSULTING, LLC


                         Debtor(s)
                                                                 CHAPTER 13
           CHARLES J. DEHART, III
           CHAPTER 13 TRUSTEE
                      Movant                                     CASE NO: 5-16-03073-JJT

           vs.

           JESUS JOSE PALMERONI
           AKA: JOSEPH PALMERONI DBA: JJP
           CONSULTING, LLC

                         Respondent(s)

                              TRUSTEE’S MOTION TO DISMISS CASE

COMES NOW, on December 7, 2017, Charles DeHart, III, Standing Chapter 13 Trustee for the Middle
District of Pennsylvania, moves this Honorable Court for dismissal of the above-captioned Chapter 13
bankruptcy case in accordance with 11 U.S.C. Section 1307(c), due to material default by the debtor(s) with
respect to the terms of the plan.

Notice of conference, hearing and other instructions are included with this Motion.

WHEREFORE, your Trustee prays that this Honorable Court enter an Order dismissing the above-captioned
case in accordance with 11 U.S.C. Section 1307(c).

                                                    Respectfully submitted,

                                                    s/ Charles J. DeHart, III
                                                    Charles J. DeHart, III, Trustee
                                                    8125 Adams Drive, Suite A
                                                    Hummelstown, PA 17036
                                                    Phone: (717) 566-6097




  Case 5:16-bk-03073-JJT         Doc 133     Filed 12/07/17    Entered 12/07/17 14:06:57      Desc
                                                Page 1 of 5
                         UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

     IN RE:     JESUS JOSE PALMERONI
                AKA: JOSEPH PALMERONI
                DBA: JJP CONSULTING, LLC                       CHAPTER 13

                                Debtor(s)

                CHARLES J. DEHART, III                         CASE NO: 5-16-03073-JJT
                CHAPTER 13 TRUSTEE
                             Movant

                                                 NOTICE

NOTICE IS HEREBY GIVEN THAT Charles J. DeHart, III, Standing Chapter 13 Trustee for the Middle
District of Pennsylvania has filed a Motion to Dismiss for failure to make timely payments pursuant to your
Chapter 13 Plan.

YOU ARE HEREBY NOTICED that a CONFERENCE before the Trustee and a HEARING with the Court
have been scheduled on this motion. Any matters not resolved at the Trustee’s Conference shall be heard at
the dismissal hearing to be held as stated below:

     CONFERENCE before Trustee:                          HEARING:
     January 9, 2018 at 9:00 am                          January 9, 2018 at 09:35 AM
     U.S. Bankruptcy Court                               U.S. Bankruptcy Court
     Max Rosenn U.S. Courthouse                          Max Rosenn U.S. Courthouse
     197 S. Main Street                                  197 S. Main Street
     Wilkes Barre, PA                                    Wilkes Barre, PA


YOU ARE FURTHER NOTICED that you MUST attend the conference or dismissal
hearing unless one of the following takes place.

1.     You have paid the following and have confirmed payment with Trustee DeHart's office.

                     AMOUNT DELINQUENT AS OF LAST MONTH: $ 8200.00
                         AMOUNT DUE FOR THIS MONTH: $4100.00
              TOTAL AMOUNT DUE BEFORE CONFERENCE/HEARING DATE: $12300.00

NOTE:
    ALL payments must be made by CERTIFIED CHECK, MONEY ORDER or through
    TFSBILLPAY.COM. NO PERSONAL CHECKS OR CASH WILL BE ACCEPTED!

        DO NOT send your payments REGISTERED, CERTIFIED, FEDERAL EXPRESS, UPS, or by any
        other special delivery service. Doing so will delay processing of your payment and may result in
        dismissal of your case.

        If submitting payment by U.S. First Class Mail mail to:
                  CHARLES J. DEHART, III, PO BOX 7005, LANCASTER, PA 17604



     Case 5:16-bk-03073-JJT       Doc 133    Filed 12/07/17    Entered 12/07/17 14:06:57       Desc
                                                Page 2 of 5
       If submitting payment using TFSBILLPAY.COM please allow 5 business days for payment to
be applied.

2. You have entered into a valid stipulation with Trustee DeHart and that stipulation has been filed with
the Court, or

3. You have filed a voluntary conversion or a voluntary case dismissal with the U.S. Bankruptcy Court
and have served a copy of that motion upon Trustee DeHart.

FAILURE TO COMPLY WITH THE ABOVE WILL RESULT IN YOUR CHAPTER 13 CASE
BEING CALLED FOR DISMISSAL HEARING WITH THE COURT ON THE DATE AND TIME
AS SPECIFIED IN THIS NOTICE. THIS MAY RESULT IN DISMISSAL OF YOUR CASE.

                                                           Charles J. DeHart, III, Trustee
                                                           8125 Adams Drive, Suite A
                                                           Hummelstown, PA 17036
                                                           Phone: (717) 566-6097
Dated: December 7, 2017




  Case 5:16-bk-03073-JJT        Doc 133     Filed 12/07/17    Entered 12/07/17 14:06:57       Desc
                                               Page 3 of 5
                    UNITED STATES BANKRUPTCY COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 IN RE:   JESUS JOSE PALMERONI
          AKA: JOSEPH PALMERONI DBA:
          JJP CONSULTING, LLC
                                                    CHAPTER 13

                        Debtor(s)
                                                    CASE NO: 5-16-03073-JJT
          CHARLES J. DEHART, III
          CHAPTER 13 TRUSTEE
                      Movant

                                    CERTIFICATE OF SERVICE

I hereby certify that the Debtor and his/her counsel, have been served a copy of this Motion,
Notice and Proposed Order by First Class Mail, unless served electronically, at the below
address on December 7, 2017.



  RANDALL W. TURANO, ESQUIRE
  802 MONROE STREET
  STROUDSBURG, PA 183601707



  JESUS JOSE PALMERONI
  3308 ROUTE 940
  SUITE 104
  MOUNT POCONO, PA 18344


                                              Respectfully submitted,

                                              s/ Liz Joyce
                                              for Charles J. DeHart, III, Trustee
                                              8125 Adams Drive, Suite A
                                              Hummelstown, PA 17036
                                              Phone: (717) 566-6097

Dated: December 7, 2017




  Case 5:16-bk-03073-JJT    Doc 133     Filed 12/07/17   Entered 12/07/17 14:06:57   Desc
                                           Page 4 of 5
                            UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE:   JESUS JOSE PALMERONI
         AKA: JOSEPH PALMERONI
         DBA: JJP CONSULTING, LLC
                                                       CHAPTER 13
                       Debtor(s)

         CHARLES J. DEHART, III
         CHAPTER 13 TRUSTEE
                    Movant                             CASE NO: 5-16-03073-JJT

         vs.

         JESUS JOSE PALMERONI                          MOTION TO DISMISS
         AKA: JOSEPH PALMERONI
         DBA: JJP CONSULTING, LLC



                                        ORDER DISMSSING CASE

       Upon consideration of the Trustee’s Motion to Dismiss, it is hereby Ordered that the above-
captioned bankruptcy be and hereby is dismissed.




  Case 5:16-bk-03073-JJT        Doc 133     Filed 12/07/17    Entered 12/07/17 14:06:57       Desc
                                               Page 5 of 5
